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UNITED STATES DISTRICT COURT FILED
FOR THE DISTRICT OF COLUMBIA
wt a- 2003

«/ MAYER WHITTINGTON, C=
MA DISTRICT COURT

 

ROBERT LEDERMAN,
Plaintiff,
Civil Action No. 99-3359 (RWR)

Vv.

UNITED STATES OF AMERICA,
et al.,

Defendants.

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FINAL JUDGMENT

For the reasons stated in the accompanying Memorandum
Opinion, it is hereby

ORDERED that the federal defendants' motion to dismiss or
for summary judgment [119] be, and hereby is, DENIED as to the
First Amendment claim and GRANTED as to the FTCA claim. It is
further

ORDERED that the District of Columbia defendants' motion to
dismiss [120] be, and hereby is, GRANTED. It is further

ORDERED that plaintiff's motion for partial summary judgment
on the First Amendment claim [121] and motion for amended
permanent injunction [131] be, and hereby are, GRANTED.

This is a final appealable order.
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SIGNED this / day of , 2003.

RICHARD W. ROBERTS
United States District Judge
